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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff/Respondent,

v.                                                              Case No. 07-20168-04-JWL


Shevel M. Foy,

                     Defendant/Petitioner.

                                 MEMORANDUM & ORDER

       Amendment 782 to the United States Sentencing Guidelines took effect on November 1,

2014 and lowers the base offense levels in the Drug Quantity Table. To assist in the processing

of the large number of motions anticipated in light of Amendment 782, the Honorable J. Thomas

Marten, Chief Judge of the District of Kansas, appointed the Office of the Federal Public

Defender to represent any defendant previously determined to have been entitled to appointment

of counsel to determine whether that defendant may qualify for relief under Amendment 782.

The record reflects that Mr. Foy falls into that category of defendants such that the Officer of the

Federal Public Defender was appointed under Judge Marten’s standing order to represent Mr.

Foy in assessing whether he may be entitled to relief under Amendment 782.

       This matter is now before the court on the motion of Kirk Redmond, the First Assistant

Federal Public Defender, to withdraw from Mr. Foy’s case in light of a specific conflict arising

from Mr. Redmond’s prior representation of one of Mr. Foy’s co-defendants, Monterial Wesley.

In the motion, Mr. Redmond explains the nature of the conflict in detail and further asks the

court to appoint substitute counsel to represent Mr. Foy’s interests. The motion is granted in
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part and denied in part. It is granted to the extent Mr. Redmond moves to withdraw from

representing Mr. Foy in light of the conflict identified by Mr. Redmond.        It is denied to the

extent Mr. Redmond asks the court to appoint substitute counsel for Mr. Foy at this juncture.

There is no constitutional right to counsel beyond the direct appeal of a conviction. Swazo v.

Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994); Pennsylvania v. Finley, 481 U.S. 551,

555 (1987). Moreover, Mr. Foy, at this time, does not have a motion for relief pending before

the court. Nonetheless, if Mr. Foy files a motion for relief with respect to his sentence and that

motion reflects that Mr. Foy may be entitled to relief, the court will consider a request for the

appointment of counsel at that point.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Redmond’s motion to

withdraw and for the appointment of substitute counsel (doc. 1721) is granted in part and denied

in part.



       IT IS SO ORDERED.



       Dated this 12th day of November, 2015, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




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